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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   CLARKSBURG

 UNITED STATES OF AMERICA,

              Plaintiff,

        v.                                 Crim. Action No. 1:18-CR-50-3
                                                    (Judge Kleeh)

 SEDDRICK DAMOND BANKS,

              Defendant.


            ORDER DENYING IN PART AND GRANTING IN PART DEFENDANT’S
           MOTION FOR CHANGE OF VENUE, OR ALTERNATIVELY, MOTION TO
        ENGAGE ORION STRATEGIES FOR SURVEY [ECF NO. 283]; GRANTING
         DEFENDANT’S MOTION FOR USE OF SUPPLEMENTAL PRETRIAL JUROR
              QUESTIONNAIRES [ECF NO. 284]; GRANTING DEFENDANT’S
          MOTION IN LIMINE REGARDING STOLEN FIREARM [ECF NO. 286];
              AND CONTINUING PRE-TRIAL CONFERENCE AND JURY TRIAL

          On February 28, 2020, the parties appeared for a hearing to

 address the following motions filed by Defendant, Seddrick Banks

 (“Banks”):       Motion for Change of Venue, or alternatively, Motion

 for Permission to Engage Orion Strategies to Conduct Internet and

 News     Research   and   Survey   [ECF   No.   283];   Motion    for     Use   of

 Supplemental Juror Questionnaires [ECF No. 284]; and Motion In

 Limine Regarding Stolen Firearm [ECF No. 286].

        After considering the arguments of counsel, the Federal Rules

 of Criminal Procedure, and the applicable legal standards, the

 Court DENIES IN PART and GRANTS IN PART Defendant’s motion for

 change      of   venue,   or   alternatively,    motion   to     engage    Orion

 Strategies to conduct internet and news research and survey [ECF
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 No. 283].      The motion is DENIED at this time with respect to the

 request for a change in venue, but GRANTED to permit Defendant to

 engage Orion Strategies in this matter.                        The Court has reviewed

 the proposed costs of the expected research and survey by Orion

 Strategies and find them to be appropriate; however, this order

 does not constitute either approval or disapproval of the total

 fee   which    counsel        may   ultimately         request    on    behalf   of    Orion

 Strategies.

       Also, for the reasons discussed during the February 28, 2020,

 hearing     and   with   no     objection        from    the   Government,       the   Court

 GRANTS      Defendant’s        motion     for      use      of     supplemental        juror

 questionnaires [ECF No. 284] and motion in limine regarding stolen

 firearm [ECF No. 286].

       For     reasons    appearing      to       the    Court,     to   allow    Defendant

 additional     time     for    Orion    Strategies        to     conduct   the   requested

 research and survey, and upon Defendant’s request at the February

 28, 2020, hearing, the Court CONTINUES the pre-trial conference

 scheduled for Wednesday, March 11, 2020, at 10:00 a.m., and the

 jury trial scheduled for Monday, March 23, 2020, at 9:30 a.m.                            The

 pre-trial conference in this matter is now scheduled for 11:00

 a.m. on Thursday, June 4, 2020, at the Clarksburg, West Virginia

 point of holding court.             Jury selection will begin at 9:30 a.m. on

 Tuesday, June 16, 2020, at the Clarksburg, West Virginia point of




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 holding court.      The Court further DIRECTS that new deadlines be

 scheduled for pre-trial motions.

       In continuing the trial, the Court has considered the factors

 outlined in 18 U.S.C. § 3161, and the Court FINDS that the ends of

 justice served by a continuance outweigh the best interest of the

 public and the Defendant in a speedy trial.               Specifically, the

 Court finds that this time should be excluded from speedy trial

 computation because the failure to continue this matter “would

 deny counsel for the defendant . . . the reasonable time necessary

 for effective preparation, taking into account the exercise of due

 diligence.”    See 18 U.S.C. § 3161(h)(7)(B)(iv).         Additionally, the

 failure to continue the trial under the circumstances presented

 would be likely to result in a miscarriage of justice.                 See 18

 U.S.C. § 3161(h)(7)(B)(i).

       It is so ORDERED.

       The Clerk is directed to provide a copy of this Order to

 counsel of record, to Magistrate Judge Michael J. Aloi, and to

 Lisa A. Coleman, CJA Panel Administrator, Office of the Federal

 Public Defender for the Northern District of West Virginia.

       DATED: March 5, 2020


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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